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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

                                                                       )
  THE SAGINAW CHIPPEWA INDIAN                                          )
  TRIBE OF MICHIGAN,                                                   )
                                                                       )   Case No. 11-cv-14652
                      Plaintiff,                                       )
                                                                       )   Honorable Thomas
             v.                                                        )   Ludington
                                                                       )
  NATIONAL LABOR RELATIONS BOARD                                       )   Magistrate Judge
  and in their official capacities as Members of                       )   Charles E. Binder
  the Board, MARK G. PEARCE, Chairman,                                 )
  CRAIG BECKER, and BRIAN HAYES.                                       )
                                                                       )
                      Defendants.                                      )
                                                                       )

        DEFENDANTS NATIONAL LABOR RELATIONS BOARD ET AL.’S
      MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION

         Pursuant to Federal Rule of Civil Procedure 12(b)(1), the National Labor

  Relations Board et al. (NLRB) hereby respectfully moves to dismiss this case for lack of

  subject matter jurisdiction. For the reasons stated in the accompanying brief, this Court

  lacks subject matter jurisdiction to hear challenges to the NLRB’s jurisdiction over an

  ongoing unfair labor practice proceeding. Therefore, the Complaint must be dismissed.




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                                      Respectfully submitted,



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  Dated:      Washington, D.C.
              October 28, 2011




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